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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELAWARE



DEBORAH THELEN, individually
and on behalf of all others similarly
situated,                                        Case No.:

               Plaintiff,
v.                                               JURY TRIAL DEMANDED

HP Inc.

          Defendant.
____________________________


                             CLASS ACTION COMPLAINT
        Plaintiff Deborah Thelen individually and on behalf of all others similarly

situated, files this Class Action Complaint (“Complaint”) against Defendant HP

Inc. (“HP”). The following allegations are based on personal knowledge as to

Plaintiff’s own conduct and on the investigation conducted by her counsel.

                INTRODUCTION AND SUMMARY OF ACTION

        1.    Plaintiff brings this consumer class action alleging that HP misled

consumers about the quality and functionality of the Envy Laptops (“Envy”), Envy

360 Laptops (“Envy 360”), Pavilion Laptops (“Pavilion”), Pavilion 360 Laptops

(“Pavilion 360”) and the HP 14, HP 15, and HP 17 Laptops (“HP Laptop”).

Together, these computers, sold in or after 2017, make up the “Class Laptops”.


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      2.      HP designed, manufactured, marketed, sold, and distributed the Class

Laptops to tens of thousands of consumers in New York and throughout the United

States.

      3.     The Class Laptops all possess a material defect that prevent them

from being used as portrayed in HP’s advertising materials, and HP concealed,

failed to disclose, or otherwise engaged in deceptive marketing with respect to this

defect. As a result, many consumers purchased computers that became practically

unusable after just months of use.

      4.     Unbeknownst to consumers, the Class Laptops are designed and

manufactured with a common inherent defect that, over time, compromises the

laptops’ hinges, thus impairing the computer’s portability and functionality. The

Class Laptops’ display hinges are defective in that they break off from the poorly

secured mounting points at the base of the device (the “Defect”).

      5.     One of the essential attributes of a laptop or portable computer is the

ability to open and close the case like a clam shell for ease of transport. This ability

is contingent on the hinge being anchored to the two halves of the laptop. A

laptop’s universal design consists of a thin upper case, containing the monitor, and

a thicker, more robust bottom case that contains the keyboard, hard drive, CPU,

and other critical components. The hinge provides a connection between the two

halves and allows the monitor to be opened and closed as needed.

                                           2
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      6.     Upon information and belief, the Defect is the result of ordinary stress

on a vital component that is common in the Class Laptops. Because the hinges are

anchored to the laptops with poorly made and substandard parts constructed from

weak plastic and/or otherwise suffer from defects in material and/or workmanship,

the ordinary opening or closing of the laptop fractures the plastic anchors, causing

them to fail, and destabilizes the hinges. This destabilizing of the hinges causes the

case to become compromised resulting in further damage to the lower case and

inoperability of the hinge as designed. The Defect is captured in the below

photograph of a Class Laptop hinge mechanism.




                                          3
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                    Fractured Plastic Anchors in 17” HP Envy 1




                           Defect in an HP Envy 3602




1
  17" HP Envy Coming apart at the left near screen hinge - Page 3 - HP Support
Community - 4651990
2
  HP Envy x360 Broken Hinge - HP Support Community - 6793400
                                        4
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       7.    Despite their knowledge of the Defect, Defendant markets its Envy

360 and Pavilion 360 computers as “convertible” and designed to offer a range of

angles and movements to users:

       “Create on-the-go with a convertible laptop designed to move with you. The
       power of a 360 degree hinge combined with the simultaneous use of touch
       and pen make for vibrant, accurate creations…The 360 degree hinge adapts
       so you can capture every intricate sketch with precision.”3 (Envy x360)



       “The HP Pavilion x360…convertible adapts to you so that you are
       productive at any angle…with four modes to choose from, you’ll find just
       the right angle for anything with the extremely flexible HP Pavilion x360.” 4

       8.    Defendant marketed its HP Laptops as “reliable” and “designed for

long-lasting performance”, with “compact, portable design”5.




3
  See HP Envy x360 Product Listing, https://www.hp.com/us-en/shop/pdp/hp-envy-
x360-laptop-15t-ed100-174r7av-
1?cq_src=google_ads&cq_cmp=12690817676&cq_con=123460399194&cq_term
=&cq_med=&cq_plac=&cq_net=g&cq_pos=&cq_plt=gp&DSA&jumpid=ps_con_
nb_ns&utm_medium=ps&utm_source=ga&utm_campaign=HP-
Store_US_BRA_PS_CPS_OPEX_Google_All_SEM_All_Notebooks-
DSA&utm_term=&matchtype=b&adid=512564949515&addisttype=g&gclid=Cj0
KCQjwqKuKBhCxARIsACf4XuEpqark2dOenF2HqBQPwnykTceQK1TgHgPcz6
2FECDLt7bBJRgkvDsaAibJEALw_wcB&gclsrc=aw.ds
4
  See HP Pavilion x360 Convertible Product Listing, https://www.hp.com/us-
en/shop/pdp/hp-pavilion-x360-convertible-15t-er000-touch-24d80av-
1?jumpid=ma_weekly-deals_product-tile_laptops_3_24d80av-1_hp-pavilion-
x360-con
5
  See Work, Watch and Play All Day, June 4, 2018,
https://www.youtube.com/watch?v=KdB4v9ssdIY
                                        5
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       9.     Defendant further provides assurances to customers as to the HP

Laptops’ durability and HP’s pre-sale diligence by stating that “extensive quality

testing ensures that you can keep going…and going.”6

       10.    Indeed, Defendant claims that each model has been subject to 115,000

hours of testing,7 which included opening and closing the laptops tens of thousands

of times. 8

       11.    Defendant uniformly represented to consumers that it had years of

experience manufacturing computers and was in effect an expert in manufacturing,

design, and use of computers.

       12.    Plaintiff and Class members saw or heard these representations from

Defendant about the Class Laptops prior to purchasing their Envy, Envy x360,

Pavilion x360, Pavilion, or HP Laptops.

       13.    Contrary to HP’s representations, HP fails to disclose that the Class

Laptops are designed and/or manufactured with a common inherent defect that,

over time, compromises the laptop’s hinges, impairing the computer’s portability

and functionality.




6
  HP Laptop - 17-ca2097nr (2Y438UA#ABA)
7
  HP Total Test Process Testing - HP Inc Video Gallery - Products
(brightcovegallery.com)
8
  HP Total Test Process Testing - HP Inc Video Gallery - Products
(brightcovegallery.com); Inside HP Labs of Destruction! (archive.org)
                                        6
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      14.    According to Plaintiff and other owners of the Class Laptops who

have experienced the Defect, the common hinge problem is not a result of

dropping or otherwise handling the laptop roughly. Rather, owners report that the

Defect becomes suddenly apparent by way of a popping or crunching noise when

opening or closing the laptop in the course of normal and intended use.

      15.    As a result, the user’s ability to (1) open the laptop to utilize the

device, (2) close or transport the laptop, or (3) transition the configuration of the

laptop, is dramatically reduced, or lost altogether. Thus, the Defect renders the

computer partially or wholly unusable.

      16.    Consequently, the Class Laptops are not fit for their intended purpose

as functioning, compact, portable, or flexible computers and cannot satisfy the

representations HP made in its marketing materials and warranties.

      17.    There are thousands of customer posts on Defendant’s own online

forum complaining of the hinge issue described above in the Class Laptops. These

posts date back to at least 2014.

      18.    The complaints describe the Defect, the accompanying crunching

sounds when the devices are opened, and even report plastic debris from the weak

hinge anchors being expelled from the Class Laptops.

      19.    HP has responded to the Defect in several ways, all of which are

inadequate. In communications with some owners of the Class Laptops, HP has

                                           7
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stated that a hardware assembly issue was causing the hinge cracking and panel

separation problems.9 Despite acknowledging the Defect in this fashion, Defendant

has been unable or unwilling to address the true scope and pervasive nature of the

Defect in the Class Laptops.

       20.   HP’s laptop computers are covered by a limited warranty (the

“Limited Warranty”), which warrants that HP products are free of defects in

material and/or workmanship and that HP will repair the product, or if it is unable

to repair the product, replace or refund the purchase.

       21.   The Defect manifests both inside and outside of the warranty period.

Defendant has been unable to fix the Defect during the warranty period and

routinely refuses to repair the Defect free of charge outside the warranty period.

       22.   Many consumers complaining to HP about the Defect were told that

the issue was caused by user error and HP refused to provide complementary

repair. Many other purchasers of the Class Laptops have sent their computers in for

repair, only to find that the same issues crop up after the purported repairs, and/or

in the next iteration of HP laptop owners purchased.

       23.   Despite being aware of the cause of the Defect, HP and its

representatives have often engaged in, or directed frustrated customers to engage


9
 https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-
Questions/HP-Laptop-Hinge-completely-broken-and-laptop-will-not-close/m-
p/8101580 (posted on 07/02/2021 at 6:50 AM)
                                       8
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in, ineffective repair methods. 10 Many customers who attempted to exercise their

rights under the warranty were told the hinge problems were the result of a

hardware problem and were instructed to order and install replacement hinges from

the HP Part store, which did not fix the Defect. And when HP accepted a Class

Laptop for repair under warranty, it often replaced the hinges with the same part.

None of these purported repairs remedied the hinge issues because none addressed

the Defect.

        24.   Defendant marketed, promoted, and sold the Class Laptops as

flexible, compact, and portable laptops featuring sleek design and mobility to

support on-the-go, dynamic, and prolonged use.

        25.   Defendant knew that a material factor for consumers who purchased a

Class Laptop was that the device was capable of handling frequent use and

transportation and, in the case of the Envy 360 and Pavilion 360, possessed hinges

capable of movement into various positions and angles.

        26.   The Defect, however, makes it difficult or impossible to open and

close the Class Laptop, transport the laptop, or move the laptop smoothly into any

of its advertised dynamic positions.




10
  See, e.g., Response https://h30434.www3.hp.com/t5/Notebook-Hardware-and-
Upgrade-Questions/HP-Laptop-Hinge-completely-broken-and-laptop-will-not-
close/m-p/8101580 (posted on 7/2/2021 at 7:32 AM).
                                       9
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      27.    HP concealed from and/or failed to disclose to Plaintiff and the Class

the defective nature of the Class Laptops and failed to remove the Class Laptops

from the marketplace or take adequate action to remedy the Defect. Rather, HP

sold and serviced the Class Laptops even though it knew, or was reckless in not

knowing, that the Defect impacted the functionality of the Class Laptops and

would ultimately result in Plaintiff’s and Class members’ inability to use their

Class Laptops for their intended purpose.

      28.    Defendant’s knowledge of the Defect is evident from the voluminous

complaints lodged on Defendant’s own online forum as well as Defendant’s

engagement with Class Laptop owners complaining of the Defect on the forum.

      29.    As a result of HP’s unlawful, unfair, fraudulent, misleading, and

deceptive practices, Plaintiff and other consumers have purchased HP’s products

under the mistaken belief that the Class Laptops possessed high quality, functional

hinges that were capable of normal use without damaging the machine.

      30.    Had Plaintiff and the Class known the facts regarding the Defect in

the Class Laptops, those facts would have been material to her and any reasonable

consumer’s decisions to purchase the Class Laptops at the price they paid for them.

      31.    Indeed, had Plaintiff and the Class known about the Defect at the time

of purchase, they would have paid substantially less for their Class Laptops.

Alternatively, they would not have purchased the Class Laptops and avoided the

                                         10
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significant out-of-pocket costs they have or will incur to repair or replace their

Class Laptops once the Defect manifests.

      32.    As a consequence of HP’s false and misleading statements, its active

concealment of the Defect, and its failure to repair or otherwise address the Defect,

Plaintiff and the Class have suffered injury in fact and actual damages in that the

Class Laptops they purchased are unreliable and/or unusable for their intended

purposes. As a direct and proximate result of the Defect, Plaintiff and the Class

have also suffered or will suffer damages in the form of, inter alia: out-of-pocket

expenditures for the replacement and attempted repairs of the Class Laptops;

diminished value of the Class Laptops; time wasted attempting to repair the

Defect; and the failure to receive the benefit of the bargain in their purchases of the

Class Laptops.

      33.    Accordingly, Plaintiff seeks redress for Defendant’s breaches of

warranties and violations of New York General Business Law sections 349 and

350 and the common law of the state.

      34.    In furtherance of the public interest, and in order to remedy HP’s

wrongful conduct, Plaintiff brings this action as a class action, and asserts claims

on behalf of herself and a class of similarly situated persons seeking money

damages, equitable relief, and injunctive relief for Defendant’s conduct described

herein.

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      35.    Because of the relatively small size of the typical individual Class

members’ claims, it is unlikely that individual Class members could afford to seek

recovery on their own. This is especially true in light of the size and resources of

Defendant. A class action is, therefore, the only reasonable means by which Class

members can obtain relief.

                                     PARTIES

      36.    Plaintiff Deborah Thelen is an individual citizen of the United States

residing in New York City, New York and is otherwise sui juris.

      37.    Defendant HP Inc. is a Delaware corporation with its headquarters

located at 1501 Page Mill Road, Palo Alto, California, 94304. Upon information

and belief, HP Inc. is a global Fortune 500 company and one of the world’s largest

manufacturers and sellers of computers. Defendant HP Inc. utilizes the website

www.hp.com/us-en/home.html and its related webpages, as well as resellers, to

market and sell personal computers and related products directly to consumers

throughout the United States. HP Inc. is registered to do business in New York and

other states across the country.

                         JURISDICTION AND VENUE

      38.    Pursuant to the Class Action Fairness Act of 2005, 28 U.S.C. §

1332(d)(2) and (6), this Court has original jurisdiction. The aggregated claims of

the individual class members exceed the sum or value of $5,000,000, exclusive of

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interest and costs. This is a class action in which at least one member of the Class

and Subclass is a citizen of a state other than the states in which Defendant is

incorporated and has its principal place of business.

      39.    This Court has personal jurisdiction over this action because

Defendant HP is a Delaware corporation.

      40.    Venue is proper in this District under 28 U.S.C. § 1391(b)(1) because

Defendant HP resides within this District.

      41.    Plaintiff is informed and believes, and thereon alleges, that each and

every one of the acts and omissions alleged herein were performed by, and/or

attributable to, Defendant.

                              STATEMENT OF FACTS

      42.    HP Inc. designs, develops, manufacturers, and sells personal

computers, tablet computers, monitors, printers, workstations, and accessories.

      43.    HP Inc. operates in more than seventy countries and sells its products

globally. HP’s headquarters is in Palo Alto, California.

      44.    As of January 2021, HP Inc. was the world’s second largest personal

computer vendor by unit sales.

   A. The Class Laptops

      45.    The laptop models which comprise the Class Laptops include a

diverse line of HP’s laptop computer products. However, all the Class Laptops

                                          13
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share and suffer from the same inherent defects in material and/or workmanship

(defined above) as described in detail below.

      46.    HP launched the Envy family of computers in 2009.11 In 2014, HP

unveiled its 360-degree Convertible PC 12—so named for its ability to assume

multiple form factors due to a hinged screen. Since that time, HP has released at

least 37 new laptop computers under the Envy and 360-degree Convertible brand

names. The latest (2021) basic Envy models are priced at $1,499.99 and $1,099.99,

for the 15” and 17” models, respectively. The latest (2021) convertible Envy

models are only offered as 15” models and start at $699.99.

      47.   The latest (2021) basic model of the 15” HP Pavilion is priced at

$619.99. The latest (2021) convertible model of the 15” HP Pavilion starts at

$699.99. The latest (2021) basic 15” and 17’ HP Laptops are priced at $329.99,

and $429.99 respectively.

      48.    Defendant represented, and continues to represent, to consumers that

it had years of experience in the manufacture of computers and was in effect an

expert in the manufacture, design, and use of computers.




11
   See Timeline of our history, https://www.hp.com/us-en/hp-information/about-
hp/history/hp-timeline/timeline.html
13
   HP Worldwide Limited Warranty and Technical Support,
https://www.hp.com/us-en/privacy/limited_warranty.html#2
                                         14
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       49.     Defendant’s Limited Warranty “guarantees that it will repair, replace,

or refund, at HP’s option, an HP Hardware Product that manifests a defect in

materials or workmanship during the Limited Warranty Period”. 13 If “in the

unlikely event that…HP determines it is unable to repair or replace the HP

Hardware Product, HP, at its option, may elect to provide you with (a) a

replacement unit selected by HP that is the same or functionally equivalent to your

HP Hardware Produce in performance or (b) to give you a refund or credit of your

purchase price or lease payments (less interest) instead of a replacement. To the

extent permitted by local law, this is your exclusive remedy for defective

products.”14

       50.     Defendant designed, manufactured, warranted, advertised, and sold

Class Laptops to tens of thousands of consumers throughout the United States and,

upon information and belief, disseminated marketing materials from its

headquarters in California.

     B. The Defect

       51.     Contrary to HP’s representations, the Class Laptops are designed and

manufactured with an inherent defect that compromises the computers’ ability to

open or close, be transported, or configured into any of its advertised dynamic


13
   HP Worldwide Limited Warranty and Technical Support,
https://www.hp.com/us-en/privacy/limited_warranty.html#2
14
   Id.
                                      15
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positions. Moreover, the damage to the hinge results in the screen, and its contents,

sitting in a tilted position. Upon information and belief, the Defect is the result of

ordinary stress on a vital component that is common in the Class Laptops.

      52.    While the hinges are connected to the Class Laptops using brass

screws, the screws are held in place by fragile plastic. The fracture toughness of

the plastic is too low for this application and reflects the overall lack of quality in

the laptop’s frame.

      53.    Because the hinges are anchored to the Class Laptops with poorly

designed parts constructed from weak plastic, the ordinary opening or closing of

the laptop results in friction between the brass and weak plastic. This, in turn,

wears and cracks the plastic anchors — thus destabilizing the hinges. During

ordinary use of the machine, the Defect causes part or all of the hinge anchors to

crack, snap, separate, break or otherwise fail.

      54.    Once the brass become unsecured from the plastic rings, they will not

re-seat. Therefore, in the absence of an adequate fix, the Defect will only worsen as

time progresses.




                                           16
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                        Image from YouTube Repair Video 15




      55.    Once the Defect manifests, use of the computer is, at best, difficult,

and often impossible because the user cannot transport, open or close, or adjust

their laptop. Since the Defect impairs the user’s ability to view the visual interface

to the machine and impairs or prevents the portability of the laptop, it renders the

device partially or wholly unusable.

      56.    According to Plaintiff and other owners of Class Laptops who have

experienced the Defect, the hinge problems are triggered and exacerbated when the

laptop monitor is opened, closed, or adjusted — such as when the user folds the




15
  Laptop Hinge Repair - HP Envy - YouTube; available at
https://www.youtube.com/watch?v=cyaZ-7rUFmQ. Last visited on November 2,
2021.
                                     17
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monitor down towards the keyboard or, in the case of the 360-degree Convertible

models, the monitor is folded into tent or tablet mode.

      57.    The Defect is often initially identified by crunching sounds when the

devices are opened as well as plastic debris falling from the Class Laptops. Soon

thereafter, the hinge becomes increasingly inoperable.

      58.    Consequently, the Class Laptops are not fit for their intended purpose

and cannot perform in accordance with HP’s marketing materials and warranties.

      59.    The Defect has impacted many other purchasers of the Envy, Envy

360, Pavilion, Pavilion 360, and HP Laptops. For example, on April 18th, 2020, a

forum member created a thread entitled “Broken hinge attachment” and wrote:

             I bought the 17-BY1008CA less than a year ago…The way the laptop
             has been designed the entire weight of the monitor is resting on two
             hinges that are attached to cheap plastic. It is basically designed so
             that if the laptop is open the weight slowly pulls the screws out of
             where they are attached and pushes up through the housing causing
             everything to break…My laptop sits on my desk or on my lap in my
             home. It is lifted by the bottom using two hands…I have to use
             clamps to hold it together as it has already snapped the housing. I
             spent $700 on this laptop it should not break by itself. 16

      60.    In the same thread, another customer replies: “My issue is

similar…Two days ago (8 months after receiving my laptop back from repairs) the



16
  See TheLastPrincess, Comment to Broken hinge attachment., HP
COMMUNITY (Apr. 18, 2020, 9:09 AM),
https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-
Questions/Broken-hinge-attachment/m-p/7560795
                                     18
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hinge broke a second time. The first hinge incident occurred just over a year after

purchase. I have never dropped it or handled it roughly. I used it to read an article

for school the other evening, then closed it. The next morning it cracked as I

attempted to open it”.17

      61.    In another thread on the HP Forum created on February 15, 2021,

entitled “Broken hinge,” a customer wrote:

             I purchased a $1100 envy360 in 2018. The laptop is not two years old
             so it’s a year out of warranty. I was using it last night and the left side
             hinge broke from the inside out. I called hp and they said because it’s
             out of warranty I would have to pay $500 to have it fixed which
             would take over a month. I am a college student I don’t have $500 or
             a month to get my laptop fixed…I have…NEVER dropped it. I’m so
             disappointed that HP won’t stand behind their products and do the
             right thing and fix it for free. The laptop should last longer than two
             years before it starts to fall apart. 18

      62.    In the same thread, another customer responded, that they were

“having the same problem.” 19

      63.    In another thread posted on January 21, 2021 titled “Broken left hinge

and corner”, a customer wrote about their Pavilion HP Notebook:


17
   See Royal_Code, Comment to Broken hinge attachment., HP COMMUNITY
(Apr. 29, 2020, 2:21 PM), https://h30434.www3.hp.com/t5/Notebook-Hardware-
and-Upgrade-Questions/Broken-hinge-attachment/m-p/7560795
18
   See Kristen131, Comment to Broken hinge, HP COMMUNITY (Feb. 15, 2021,
12:26 PM), https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-
Questions/Broken-hinge/m-p/7977304
19
   See Milhome, Comment to Broken hinge, HP COMMUNITY (Feb. 16, 2021,
5:36 AM), https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-
Questions/Broken-hinge/m-p/7977304
                                       19
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               “I have an HP laptop that is cracked on the upper left corner. The
               hinge has also broken and I have to leave the lid open. I have not
               dropped the laptop and it seems that other people have posted this
               same issue.”20

      64.      Another customer responded to this post, writing

                “I have the exact same issue but the response HP gives is that it is out
               of warranty and they will repair for $300!! That is unacceptable!! This
               is clearly a design/manufacturing flaw HP is aware of and won’t stand
               by their product? This is a terrible way to handle your business and
               customers.”21

      65.      On the HP Forum there are thousands of distinct complaints detailing

the issues caused by the Defect. Below are a few such examples of such threads

pertaining to the Class Laptops, each one created by a different consumer and

containing a multitude of testimonials regarding the issues created by the Defect:

            66.17-Bs019cy (2PB35UA) Broken hinge (created November 29,

            2020).22




20
   See Andrew141, Comment to Broken left hinge and corner, HP COMMUNITY
(Jan. 21, 2021, 3:02 PM), https://h30434.www3.hp.com/t5/Notebook-Video-
Display-and-Touch/Broken-left-hinge-and-corner/m-p/7945435
21
   See JackP5, Comment to Broken left hinge and corner, HP COMMUNITY (Apr.
7, 2021, 6:18 PM), https://h30434.www3.hp.com/t5/Notebook-Video-Display-and-
Touch/Broken-left-hinge-and-corner/m-p/7945435
22
   See Awilliams9103, Comment to Broken hinge, HP COMMUNITY (Nov. 29,
2020, 8:05 PM), https://h30434.www3.hp.com/t5/Notebook-Hardware-and-
Upgrade-Questions/Broken-hinge/m-p/7874642
                                        20
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        67. HP 17” Laptop – By0053cl HP Laptop Hinge completely broken and

        laptop will not close – Unacceptable! (created July 1, 2021). 23

        68. HP 17-By1003na Full-HD Laptop Product 7GR46EA#ABU HINGE

        ON RIGHT SIDE OF LAPTOP BROKEN (created September 30,

        2020).24

        69. HP Laptop 17-By001st Horrible HP Experience – HP wants me to

        pay $190 to fix their faulty product (created August 22, 2020).25

        70. Pavilion Laptop 15 Broken hinge (created August 3, 2020).26




23
   See Jim491, Comment to HP Laptop Hinge completely broken and laptop will
not close - Unacceptable!, HP COMMUNITY (July 1, 2021, 10:18 AM),
https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-Questions/HP-
Laptop-Hinge-completely-broken-and-laptop-will-not-close/m-p/8101580
24
   See LEWIS_STRUTHERS, Comment to HINGE ON RIGHT SIDE OF LAPTOP
BROKEN, HP COMMUNITY (September 30, 2020, 2:06 PM),
https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-
Questions/HINGE-ON-RIGHT-SIDE-OF-LAPTOP-BROKEN/m-p/7799660
25
   See Ish197, Comment to Solved! Horrible HP Experience - HP wants me to pay
$190 to fix their faulty product, HP COMMUNITY (August 22, 2020, 11:11 AM),
https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-
Questions/Horrible-HP-Experience-HP-wants-me-to-pay-190-to-fix-their/m-
p/7743128
26
   See Van47, Comment to Solved! Broken hinge, HP COMMUNITY (July 3,
2020, 10:35 AM), https://h30434.www3.hp.com/t5/Notebook-Hardware-and-
Upgrade-Questions/Broken-hinge/m-p/7670952
                                        21
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        71. HP 15-D035dx Notebook PC HP Notebook broken hinge – is it

        fixable? (created March 1, 2019). 27 The user provided the below images

        of the Defect.




27
  See Cassb, Comment to Solved! HP Notebook broken hinge - is it fixable?, HP
COMMUNITY (March 1, 2019, 7:02 AM),
https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-Questions/HP-
Notebook-broken-hinge-is-it-fixable/m-p/7036976
                                      22
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        72. HP Notebook – 17-By1062st Broken hinge on my laptop (created

        March 12, 2021).28

        73. HP Gaming Pavilion – 15-Cx0140tx HP Gaming Pavilion – 15-

        cx0140tx = Hinges broken with Pieces coming out broken! (created June

        30, 2021). 29

        74. Pavilion 15-Cs0053cl Left hinge broken (created July 9, 2020).30


28
   See Ebfoerster, Comment to Solved! Broken hinge on my laptop, HP
COMMUNITY (March 12, 2021, 2:50 PM),
https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-
Questions/Broken-hinge-on-my-laptop/m-p/8006416
29
   See Jaisan, Comment to Solved! HP Gaming Pavilion - 15-cx0140tx = Hinges
broken with Pieces coming out broken, HP COMMUNITY (June 30, 2021, 12:59
AM), https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-
Questions/HP-Gaming-Pavilion-15-cx0140tx-Hinges-broken-with-Pieces/m-
p/8100345
30
   See kmkeenan, Comment to Solved! Left hinge broken, HP COMMUNITY (July
9, 2020, 4:27 PM), https://h30434.www3.hp.com/t5/Notebook-Hardware-and-
Upgrade-Questions/Left-hinge-broken/m-p/7680094
                                       23
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        75. HP ENVY X360 Left Hinge on HP ENVY x360 Broken (created July

        12, 2021). 31

        76. HP Notebook Broken left rear hinge (created June 4, 2021).32

        77. Notebook 15-Bs121nr broken hinge (created December 18, 2019).33

        78. HP Notebook – 15-Bs113dx Broken hinges (created January 15,

        2021). 34

        79. HP Laptop 17z Broken hinges (created December 6, 2020). 35

        80. Pavilion 15-Cs3019nl HP Pavilion – 15-cs3019nl – Screen Hinges

        Broken – Display Bezel Broken (created January 27, 2021).36


31
   See RNAGY111, Comment to Solved! Left Hinge on HP ENVY x360 Broken,
HP COMMUNITY (July 12, 2021, 6:57 PM),
https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-
Questions/Left-Hinge-on-HP-ENVY-x360-Broken/m-p/8110870
32
   See NYMetsNo1, Comment to Broken left rear hinge, HP COMMUNITY (June
4, 2021, 4:47 PM), https://h30434.www3.hp.com/t5/Notebook-Hardware-and-
Upgrade-Questions/Broken-left-rear-hinge/m-p/8080837
33
   See Dismayed-Too, Comment to Solved! Broken hinge l, HP COMMUNITY
(Dec. 18, 2019, 8:32 PM), https://h30434.www3.hp.com/t5/Notebook-Hardware-
and-Upgrade-Questions/broken-hinge-l/m-p/7345099
34
   See Joanne09, Comment to Broken hinges, HP COMMUNITY (Jan. 15, 2021,
7:04 PM), https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-
Questions/Broken-hinges/m-p/7937049
35
   See AKIcehouse, Comment to Broken hinges, HP COMMUNITY (Dec. 6, 2020,
4:41 PM), https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-
Questions/Broken-hinges/m-p/7883787
36
   See Gianmarco18, Comment to Solved! HP Pavilion - 15-cs3019nl - Screen
Hinges Broken - Display Bezel Broken, HP COMMUNITY (Jan. 27, 2021, 10:49
AM), https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-
Questions/HP-Pavilion-15-cs3019nl-Screen-Hinges-Broken-Display-Bezel/m-
p/7952645
                                       24
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        81. Pavilion Gaming Laptop 15-Cx0xxx HP Pavilion Gaming Laptop 15

        hinge broken just a year and a half after purchase (created April 25,

        2020). 37

        82. HP Notebook – 17-Bs001no Hp left hinge broken (created April 10,

        2019). 38

        83. Pavilion Gaming Laptop 15-Cx0020nr Broken hinge mount on

        Pavilion gaming laptop (created May 20, 2020). 39

        84. Hp-Bs023ca Hinge broken (created April 14, 2021). 40

        85. Broken left hinge on my HP 17-bs0xx (created July 7, 2021).41




37
   See James311, Comment to Solved! HP Pavilion Gaming Laptop 15 hinge
broken just a year and a half after purchase, HP COMMUNITY (March 25, 2020,
8:50 AM), https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-
Questions/HP-Pavilion-Gaming-Laptop-15-hinge-broken-just-a-year-and-a/m-
p/7574227
38
   See Elvijs, Comment on Solved! Hp left hinge broken, HP COMMUNITY
(March 10, 2019, 9:13 AM), https://h30434.www3.hp.com/t5/Notebook-
Hardware-and-Upgrade-Questions/Hp-left-hinge-broken/m-p/7085264
39
   See Voo-Du_3, Comment on Solved! Broken hinge mount on Pavilion gaming
laptop, HP COMMUNITY (May 20, 2020, 2:51 PM),
https://h30434.www3.hp.com/t5/Notebook-Video-Display-and-Touch/Broken-
hinge-mount-on-Pavilion-gaming-laptop/m-p/7615274
40
   See T1T2T3, Comment on Hinge broken, HP COMMUNITY (April 14, 2021,
12:59 PM), https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-
Questions/Hinge-broken/m-p/8037757
41
   See Gina3793476, Comment to broken left hinge on my HP 17-bs0xx, HP
COMMUNITY (July 7, 2021, 10:31 AM),
https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-
Questions/broken-left-hinge-on-my-HP-17-bs0xx/m-p/8106517
                                         25
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        86. HP Envy x360 Screen Popped Out/Broken Hinge (created April 4,

        2020). 42 The post provided the below images of the Defect.




42
  Alasia-M, Comment to HP Envy x360 Screen Popped Out/Broken Hinge, HP
COMMUNITY (April 4, 2020, 8:32 PM),
https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-Questions/HP-
Envy-x360-Screen-Popped-Out-Broken-Hinge/td-p/7536339
                                    26
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                                    27
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      87.   Purchasers of the Class Laptops have also posted similar accounts on

many other internet forums.43 For example, the below reddit post concerning an

Envy 360 illustrates the damage caused by the Defect.44




43
   See, e.g., truecrtiq, Comment on , HP Envy x360 Laptop right hinges so fragile-it
BROKE in 3 months., R/AMDLAPTOPS (Jan. 14, 2021, 6:22 AM),
https://www.reddit.com/r/AMDLaptops/comments/kx3tw7/hp_envy_x360_laptop_
right_hinges_so_fragileit/
44
   HP Envy x360 Hinge Issue. Closed my laptop the other day and a screw popped
out and now the hinge is broken. I can see that the other 3 screws are in place on
the bracket, but have also become unglued from the case. How should I fix this?
Was quoted $200 from HP. R/HEWLETT_PACKARD (Mar. 23, 2019, 4:59 PM),
https://www.reddit.com/r/Hewlett_Packard/comments/b4o6g9/hp_envy_x360_hin
ge_issue_closed_my_laptop_the/
                                         28
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      88.    The Defect manifests both inside and outside of the warranty period.

As illustrated above, Defendant is unable to adequately fix the Defect during the

warranty period and routinely refuses to repair the Defect free of charge outside of

the warranty period.

   C. HP’s Exclusive and Early Knowledge of the Defect




                                         29
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        89.     HP forum activity makes clear that Defendant has been on notice of

the Defect in the Class Laptops since at least 2014 through complaints made to the

HP Forum.

        90.     The forum page “17” HP Envy Coming apart at the left near screen

hinge” (first posted October 27, 2014)45, and the nearly 200 customer posts on it,

demonstrates that the Defect was both pervasive and reported to Defendant back in

2014:




45
  Jude_Love, Comment to 17" HP Envy Coming apart at the left near screen
hinge HP COMMUNITY (Oct. 27, 2014, 4:44 AM), 17" HP Envy Coming apart at the left
near screen hinge - HP Support Community - 4651990
                                                     30
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                                    31
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      91.   Customer complaints continued on other HP forum pages, as

demonstrated in the below images from a forum entitled “Hinges” (first posted

February 16, 2016):46



46
  CarlaMaria, Comment to Solved: Hinges,HP COMMUNITY (Feb. 16, 2016,
10:38 PM), https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-
Questions/Hinges/td-p/5502838
                                     32
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                                    33
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      92.   Defendant’s failure to improve its material and/or workmanship is

evident in the below continued complaints on the HP forum page “Replacement

Hinges Question” (first posted January 24, 2018)47:




47
  Ben93, Comment to Solved: Replacement Hinges Question, HP COMMUNITY
(Jan. 24, 2018, 6:55 AM),https://h30434.www3.hp.com/t5/Notebook-Video-
Display-and-Touch/Replacement-Hinges-Question/m-p/6531071
                                       34
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      93.    As the years progressed, the number of complaints on HP forum sites

climbed drastically, as discussed in the excerpts below from “HP Envy Hinge

Issues - Has HP acknowledged this is a known issue yet? (5+ years and counting)”

(first posted July 16, 2018)48:




48
  ThatGeekGirlAU, Comment to HP Envy Hinge Issues - Has HP acknowledged
this is a known issue yet? (5+ years and counting), HP COMMUNITY (July 16,
2018, 11:53 PM),https://h30434.www3.hp.com/t5/Notebook-Hardware-and-
Upgrade-Questions/HP-Envy-Hinge-Issues-Has-HP-acknowledged-this-is-a-
known/td-p/6759803
                                         35
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                                    36
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                                    37
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      94.    HP claims that “When the products are serviced, it’s a goldmine of

information for us. We harvest that information to help us understand how to test it

better and what’s driving reliability.”49

      95.    Despite Defendant’s awareness of the Defect and the wealth of

information provided by disgruntled customers, HP has failed to reveal, repair,

prevent or adequately respond to the Defect.



49
  HP Total Test Process Testing - HP Inc Video Gallery - Products
(brightcovegallery.com),
http://hp.brightcovegallery.com/products/detail/video/4567149706001/hp-total-
test-process-testing?autoStart=true&page=0&q=Military
                                        38
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      96.      Defendant knew that functionality, mobility, maneuverability and

portability were, and continue to be, material factors for consumers purchasing a

Class Laptop.

      97.      HP concealed from and/or failed to disclose to the public at large—

including the Plaintiff and the Class—the defective nature of the Class Laptops and

failed to remove the Class Laptops from the marketplace or take adequate action to

remedy the Defect. Rather, HP sold and serviced the Class Laptops even though it

knew, or was reckless in not knowing, that the Defect impacted the portability,

mobility, and functionality of the Class Laptops and would ultimately result in

Plaintiff’s and Class members’ inability to use their Class Laptops for their

intended purpose.

      98.      Moreover, Defendant’s omissions are accompanied by affirmative

misrepresentations as to the Class Laptops’ durability and portability. Defendant

marketed, promoted, and sold the Class Laptops as “precision-crafted, high-

performance notebooks”. 50

      99.      The 360-degree Convertible PC was marketed as a 2-in-1 laptop with

a touchscreen monitor that could be folded flat against the underside of the base of

the machine.



50
  HP Timeline | HP® Official Site, available at https://www.hp.com/us-en/hp-
information/about-hp/history/hp-timeline/timeline.html
                                       39
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      100. Specifically, HP stated that the 360-degree models offered “an

affordable touch convertible PC that transforms the computing experience with a

360-degree hinge.”51

      101. Defendant described its HP Laptops as “reliable” and “designed for

long-lasting performance”, with a “compact, portable design”.52

      102. Defendant repeatedly emphasized the mobility of the Class Laptops

with the following representations: “easy to take anywhere” 53; “built to keep you

productive and entertained from anywhere” 54; “[a] compact laptop that makes it

easy to get work done on the go with a Precision Touchpad, while the long battery

life and HP Fast Charge let you keep moving”;55 “[t]he Pavilion 15 Laptop packs

more performance into a smaller profile, so you can get more done wherever you




51
   See Timeline of our history, https://www.hp.com/us-en/hp-information/about-
hp/history/hp-timeline/timeline.html
52
   See Work, Watch and Play All Day, June 4, 2018,
https://www.youtube.com/watch?v=KdB4v9ssdIY
53
   HP Laptop 17-ca3097nr (2C5B7UA#ABA), https://www.hp.com/us-
en/shop/pdp/hp-laptop-pc-17-ca3000-%281c0g7av%29
54
   HP Laptop -15t-dw300 (1B9N3AV_1), https://www.hp.com/us-en/shop/pdp/hp-
laptop-15t-dw300-touch-optional-1b9n3av-1
55
   HP Pavilion Laptop 15-eh1097nr (3F1F9UA#ABA), https://www.hp.com/us-
en/shop/pdp/hp-pavilion-laptop-15-eh1097nr
                                         40
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go…. so you can do more and enjoy entertainment wherever you go”56; “[c]reate

on-the-go, anytime, anywhere and whenever inspirations strikes.” 57

      103. Defendant further provides assurances to customers regarding the HP

Laptops’ durability and HP’s pre-sale diligence by stating that “extensive quality

testing ensures that you can keep going...and going.”58

      104. Defendant also promoted its quality assurance and the durability of its

products by inviting technology reporters to its testing facility.59 The tour

demonstrated a variety of testing devices designed to ensure durability and

longevity, including: a pulley system designed to slam laptops into a hard surface;

a platform that vibrated the laptops rapidly; equipment used to send electric shocks

into the laptops; and a freezer for temperature testing. 60

      105. Most importantly, HP also represented to the attendees that the

durability of the laptop hinges was tested by opening and closing the laptops

“typically from minimum angle to maximum angle” 27,000 times. 61


56
   HP Pavilion Laptop 15-eh1097nr (3F1F9UA#ABA), https://www.hp.com/us-
en/shop/pdp/hp-pavilion-laptop-15-eh1097nr
57
   HP® ENVY 17 Laptops, https://www.hp.com/us-en/shop/mdp/laptops/envy-17-
344517--1#!&tab=features
58
   HP Laptop - 17-ca2097nr (2Y438UA#ABA), https://www.hp.com/us-
en/shop/pdp/hp-laptop-17-ca2097nr
59
   Inside HP Labs of Destruction! (archive.org),
https://web.archive.org/web/20150918232024/https:/www.chipchick.com/2014-
07-inside-hp-labs-destruction.php
60
   Id.
61
   Id.
                                        41
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         Photograph of Defendant’s Hinge-Testing Operations in 2014 62




         Photograph of Defendant’s Hinge-Testing Operations in 2011 63




      106. Defendant’s assurances regarding the durability of its products

continues to this day. HP’s website includes a video entitled “HP Total Test




62
  Id.
63
  HP Durability Tests - YouTube, https://www.youtube.com/watch?v=bM7yw-
y3BB0
                                       42
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Process”. 64 This video describes Defendant’s product testing procedures and

presents HP products as having gone through an “exhaustive set of tests that are

designed to replicate the full product life cycle in a short period of time”.65

        107. HP claims that their product testing consists of “115,000 hours of

testing on each model.” 66

        108. Once again, HP portrays its hinges as tested to survive long-term

usage. “Take a notebook for example. One of the things that everybody has to do is

open and close it. If you’re expected to open and close that notebook 10,000 times,

we’ll test it to 50,000.”67

     Image of Screens Being Opened and Closed as Part of Hinge Testing on HP’s
                                    Website 68




64
   HP Total Test Process Testing - HP Inc Video Gallery - Products
(brightcovegallery.com),
http://hp.brightcovegallery.com/products/detail/video/4567149706001/hp-total-
test-process-testing?autoStart=true&page=0&q=Military
65
   Id.
66
   Id.
67
   Id.
68
   Id.
                                        43
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     Image of Screens Being Opened and Closed as Part of Hinge Testing on HP’s
                                    Website 69




     Image of Laptops Being Dropped as Part of Quality Testing on HP’s Website70



69
     Id.
70
     Id.
                                         44
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           109. HP further assures customers that “after all that’s done, we do low-

level evaluations. We take a look at each of the subsystems at a component level to

make sure that there is nothing that could causes issues in the future.”71

           110. HP also warrants to consumers that “you can be confident if you buy

HP’s product it’s going to work with what you’ve already got and what you’re

going to buy.”72

           111. Defendant marketed, promoted, and warranted that the Class Laptops

were premium computers, able to perform the tasks of opening and closing,




71
     Id.
72
     Id.
                                            45
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withstand transportation, and furthermore able to perform all of the basic functions

of similar laptops of their class.

      112. Plaintiff and Class members purchased their Class Laptops to be used

for mobile computing purposes like those portrayed by Defendant in its marketing

materials for all of the Class Laptops.

      113. Because the defective materials are fully enclosed within the Class

Laptops and the Defect is only revealed by laptop use, testing, or disassembly,

reasonable consumers could not discover the Defect prior to purchase.

      114. It is likely that many of the Class Laptops will be used or purchased

by unsuspecting members of the putative class, and injunctive relief could prevent

harm to those who remain unaware of the Defect which can render the Class

Laptops useless. Further, potential Class-wide notice may inform Class members

of potential remedies that they may not be aware of.

      115. As the Defect likely results from the defects in material and/or

workmanship the Class Laptops—i.e., the use of flimsy plastic material to mount

the laptop hinges—replacing the broken hinges with identical ones is unlikely to

fully remedy the Defect.

   D. Plaintiff’s Defective HP Laptops

      116. Plaintiff Thelen is a citizen of New York and resides in New York

City, New York.

                                          46
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      117. Plaintiff Thelen purchased an HP 17 Laptop for her personal use on

December 16, 2019, for $631.46, from Best Buy.

      118. Plaintiff Thelen had been using her laptop for less than year when she

noticed the machine made a popping sound when she opened or closed the lid.

Shortly after the noise manifested, the right hinge holding the two panels of the

laptop together snapped entirely. The top and bottom panels of the laptop are now

held together only by wiring; as such, it does not stay open, cannot be transported,

and has been rendered wholly unusable.




      119. Plaintiff used and maintained her Class Laptop in a manner typical of

a reasonable consumer.

      120. Plaintiff was unaware of, and lacked a reasonable means of

discovering, the Defect.



                                         47
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      121. If Plaintiff had been told of the Defect and the deceptive manner in

which HP would (a) conceal the Defect, and (b) misrepresent its quality, durability,

and portability, Plaintiff would not have purchased the Class Laptop, or would

have paid substantially less for it.

      122. HP has long been on notice of the Defect. As detailed herein, multiple

class members have contacted HP, yet HP has failed to remedy the Defect under its

warranties. Moreover, HP was previously sent a notice letter seeking remedies for,

among other things, its failure to remedy the Defect under its warranties. HP did

not respond to that letter, and, through counsel, refused to remedy the Defects

under its warranties. Finally, Plaintiff, though counsel, sent a notice letter seeking

correction of the Defect under HP’s warranties.

      123. Plaintiff remains very interested in purchasing another HP laptop in

the future and would consider doing so if she felt confident that HP would correct

the problems discussed herein and throughout this Complaint.

                        CLASS ACTION ALLEGATIONS

      124. Plaintiff brings this lawsuit on behalf of herself and all similarly

situated individuals and entities, pursuant to Federal Rule of Civil Procedure 23(a),

23(b)(2), 23(b)(3), and/or 23(c)(4). The classes consist of:

   a. The Nationwide Class: All purchasers in the United States who purchased a

      Class Laptop (the “Nationwide Class”); and

                                          48
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   b. The New York Subclass: All purchasers in the state of New York who

      purchased a Class Laptop (the “New York Subclass”, and together with the

      Nationwide Class, the “Class”),

      125. Plaintiff and Class members reserve the right to amend the Class

definitions as discovery proceeds and to conform to the evidence. Excluded from

the Class are: (a) any Judge presiding over this action and members of their families;

(b) Defendant and its subsidiaries and affiliates; and (c) all persons who properly

execute and file a timely request for exclusion from the Class.

      126. Numerosity: Members of the Class are so numerous that their

individual joinder is impracticable. Moreover, the Class is composed of an easily

ascertainable, self-identifying set of individuals and entities who purchased Class

Laptops. The precise number of Class members can be ascertained through

discovery, which includes Defendant’s records. Plaintiff estimates the number of

Class members to be in at least the tens of thousands. The disposition of their claims

through a class action will benefit both the parties and this Court.

      127. The proposed classes are ascertainable because they are defined by

reference to objective criteria. In addition, and upon information and belief, the

names and addresses of all members of the proposed class can be identified in

business records maintained by Defendant.




                                          49
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      128. Commonality: There are questions of law and fact common to the Class

that will materially advance the litigation, and these common questions predominate

over any questions affecting only individual Class members. Among the questions

common to the Class are:

   a. Whether the Class Laptops suffer from a defect that causes the hinges to fail;

   b. The origins and implementation of, and the justifications for, if any, HP’s

      policies and technology relating to the Defect and its manifestation in the

      Class Laptops;

   c. When HP became aware of the Defect in the Class Laptops and how it

      responded to that knowledge;

   d. Whether HP actively concealed and/or failed to notify consumers of the

      Defect in the Class Laptops;

   e. Whether Defendant knew of the Defect but failed to disclose the problem and

      its consequences to their customers;

   f. Whether a reasonable consumer would consider the Defect and its

      consequences to be material;

   g. Whether Defendant’s conduct violates state consumer protection laws as

      asserted herein;

   h. Whether Defendant’s sale of Class Laptops containing the Defect is an unfair,

      false, misleading, or deceptive act in the conduct of any trade or commerce;

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   i. Whether Defendant breached the implied warranty of merchantability by

      selling the Class Laptops containing the Defect;

   j. Whether Plaintiff and the other Class members overpaid for their Class

      Laptops as a result of the Defect herein;

   k. Whether Plaintiff and Class members would have purchased their Class

      Laptops, and whether they would have paid a lower price for them, had they

      known that they contained the Defect at the time of purchase;

   l. Whether Plaintiff and the Class are entitled to compensatory damages,

      including, among other things: (i) compensation for all out-of-pocket monies

      expended by members of the Class for replacement or repair of the Class

      Laptops; (ii) the failure of consideration in connection with and/or difference

      in value arising out of the variance between the Class Laptops as merchantable

      in the absence of the Defect, and as actually manufactured and sold possessing

      the Defect; and (iii) whether Plaintiff and the Class are entitled to all costs

      associated with repair and replacement of their Class Laptops; and

   m. Whether Plaintiff and the other Class members are entitled to equitable relief,

      including, but not limited to, restitution or injunctive relief.

      129. Typicality: Plaintiff’s claims are typical of the claims of the members

of the Class, as all such claims arise out of Defendant’s conduct in manufacturing,

marketing, advertising, warranting, selling, and/or designing the Class Laptops. All

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of Plaintiff’s claims are typical of the claims of the Class because Plaintiff and all

Class members were injured in the same manner by Defendant’s uniform course of

conduct described herein. Plaintiff and all Class members have the same claims

against Defendant relating to the conduct alleged herein, and the same events giving

rise to Plaintiff’s claims for relief are identical to those giving rise to the claims of

all Class members. Plaintiff and all Class members sustained monetary and

economic injuries including, but not limited to, ascertainable losses arising out of

Defendant’s wrongful conduct as described herein. Plaintiff are advancing the same

claims and legal theories on behalf of himself and all absent Class members.

      130. Adequate Representation: Plaintiff will fairly and adequately protect

the interests of the members of the Class and has no interests antagonistic to those

of the Class. Plaintiff has retained counsel experienced in the prosecution of complex

class actions including, but not limited to, consumer class actions involving, inter

alia, breach of warranties, product liability, product defects, and state consumer

fraud statutes.

      131. Predominance: This class action is appropriate for certification

because questions of law and fact common to the members of the Class predominate

over questions affecting only individual members.

      132. Superiority: A class action is superior to other available methods for

the fair and efficient adjudication of this controversy, since individual joinder of all

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members of the Class is impracticable. Given the amount at issue for each Class

member, individual suits would not be economically viable; however, should

individual Class members bring separate actions, this Court would be confronted

with a multiplicity of lawsuits burdening the judicial system while also creating the

risk of inconsistent rulings and contradictory judgments. In contrast to proceeding

on a case-by-case basis, in which inconsistent results will magnify the delay and

expense to all parties and the court system, this class action presents far fewer

management difficulties while providing unitary adjudication, economies of scale

and comprehensive supervision by a single court.

      133. Manageability: Plaintiff is unaware of any difficulties that are likely to

be encountered in the management of this action that would preclude its maintenance

as a class action.

                              CAUSES OF ACTION
                                     Count I
             Violation of the New York General Business Law § 349,
                            (N.Y. Gen. Bus. Law § 349)
                 (Asserted on behalf of the New York Subclass)

      134. Plaintiff incorporates by this reference the allegations contained in the

preceding paragraphs as if fully set forth herein.

      135. Plaintiff Thelen brings this claim individually and on behalf of the

proposed New York Subclass against HP.




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      136. Plaintiff Thelen and New York Subclass members are “persons”

within the meaning of the New York General Business Law (“GBL”). N.Y. Gen.

Bus. Law § 349(h).

      137. HP is a “person, firm, corporation or association or agent or employee

thereof” within the meaning of the GBL. NY. Gen. Bus. Law § 349(b).

      138. Under GBL section 349, “[d]eceptive acts or practices in the conduct

of any business, trade or commerce” are unlawful.

      139. In the course of HP’s business, it failed to disclose and actively

concealed the Defect in the Class Laptops with the intent that consumers rely on

that concealment in deciding whether to purchase the Class Laptops.

      140. By intentionally concealing the Defect while advertising the Class

Laptops as superior and high quality in their material and/or workmanship, HP

engaged in deceptive acts or practices in violation of GBL section 349.

      141. HP’s deceptive acts or practices were materially misleading. HP’s

conduct was likely to and did deceive reasonable consumers, including Plaintiff

Thelen, about the true performance and value of the Class Laptop.

      142. Plaintiff Thelen and New York Subclass members were unaware of,

and lacked a reasonable means of discovering, the material facts that HP

suppressed.




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      143. HP’s actions set forth above occurred in the conduct of trade or

commerce.

      144. HP’s misleading conduct concerns widely purchased consumer

products and affects the public interest. HP’s conduct includes unfair and

misleading acts or practices that have the capacity to deceive consumers and are

harmful to the public at large.

      145. Plaintiff Thelen and New York Subclass members suffered

ascertainable loss as a direct and proximate result of HP’s GBL violations. Plaintiff

Thelen and New York Subclass Members are entitled to recover their actual

damages or $50, whichever is greater. Additionally, because HP acted willfully or

knowingly, Plaintiff Thelen and New York Subclass members are entitled to

recover three times their actual damages. Plaintiff is also entitled to reasonable

attorney’s fees.

                                     Count II
              Violation of the New York General Business Law § 350,
                             (N.Y. Gen. Bus. Law § 350)
                 (Asserted on behalf of the New York Subclass)

      146. Plaintiff incorporates by this reference the allegations contained in the

preceding paragraphs as if fully set forth herein.

      147. Plaintiff Thelen brings this claim individually and on behalf of the

proposed New York Subclass against HP.


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      148. N.Y. Gen. Bus. Law § 350 provides, in part, as follows: False

advertising in the conduct of any business, trade or commerce or in the furnishing

of any service in this state is hereby declared unlawful.

      149. N.Y. Gen. Bus. Law § 350a(1) provides, in part, as follows:

      The term ‘false advertising, including labeling, of a commodity, or of
      the kind, character, terms or conditions of any employment opportunity
      if such advertising is misleading in a material respect. In determining
      whether any advertising is misleading, there shall be taken into account
      (among other things) not only representations made by statement, word,
      design, device, sound or any combination thereof, but also the extent to
      which the advertising fails to reveal facts material in the light of such
      representations with respect to the commodity or employment to which
      the advertising relates under the conditions proscribed in said
      advertisement, or under such conditions as are customary or usual …

      150. HP’s labeling and advertisements of the Class Laptops were false and

misleading in a material way, via affirmative statements and omissions as HP

failed to reveal material facts in light of such representations or conduct.

      151. Specifically, HP advertised the superior abilities of the Class Laptops

and durability of the hinges, while omitting material information concerning the

Defect.

      152. This misrepresentation has resulted in consumer injury or harm to the

public interest.

      153. As a result of this misrepresentation, Plaintiff and members of the

New York Subclass have suffered economic injury because (a) they would not

have purchased the Class Laptops had they known the truth, and (b) they overpaid
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for the Class Laptops on account of the misrepresentations and omissions that the

Class Laptops’ hinges were of superior quality, including in their material and/or

workmanship.

      154. By reason of the foregoing and as a result of HP’s conduct, Plaintiff

and Class seek to enjoin the unlawful acts and practices described herein, to

recover their actual damages or five hundred dollars, whichever is greater, three

times actual damages, and reasonable attorney’s fees.

                                  Count III
                        Unjust Enrichment/Restitution
(Asserted on behalf of the Nationwide Class and alternatively on behalf of the
                             New York Subclass)

      155. Plaintiff and the Nationwide Class incorporate by reference each

preceding and succeeding paragraph as though fully set forth at length herein.

      156. HP has been enriched as a result of the conduct described in this

Complaint.

      157. HP received a benefit from Plaintiff and other members of the Class in

the form of payment for products purchased on HP’s website.

      158. Retention of these benefits by HP would be unjust and inequitable

because HP received these benefits by engaging in a false, deceptive, and misleading

scheme to market the Class Laptops as premium, portable, fully functional machines

and/or 2-in-1 laptop computers, and by engaging in the unlawful, unjust, and

wrongful acts and practices described in this Complaint.
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          159. The benefits, in whole or in part, that HP received were not legitimately

earned and came at the expense of Plaintiff and the other members of the Class.

          160. HP knows that the above-described conduct is unjust, inequitable, and

wrongful, but systematically engages in this scheme anyway in order to gain unfair

advantages and reap unearned financial benefits.

          161. HP is guilty of malice, oppression, and/or fraud through its willful and

conscious disregard for the rights of Plaintiff and other Class Members.

          162. Plaintiff and the Class Members are entitled to restitution and

disgorgement of all amounts unjustly retained by HP, as well as other appropriate

relief.

                                  Count IV
                    Fraudulent Omission or Concealment
(Asserted on behalf of the Nationwide Class and alternatively on behalf of the
                             New York Subclass)

          163. Plaintiff and the Nationwide Class incorporate by reference each

preceding and succeeding paragraph as though fully set forth at length herein.

          164. At all relevant times, HP was engaged in the business of designing,

manufacturing, distributing, and selling the Class Laptops.

          165. HP, directly and through its representatives or agents, delivered Class

Laptops to its distributors and various other distribution channels.

          166. HP willfully, falsely, and knowingly omitted various material facts

regarding the quality and character of the Class Laptops.
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      167. Rather than disclose the Defect to Plaintiff and other prospective

purchasers of Class Laptops, HP concealed the Defect.

      168. HP omitted and concealed this material information to drive up sales,

maximize profits, and maintain its market power, as consumers would not purchase

Class Laptops, or would pay substantially less for them, had they known the truth.

      169. Plaintiff and Class members could not have discovered the Defect

prior to it manifesting in their Class Laptops.

      170. HP was in exclusive possession of information concerning the

Defect’s existence, which would have been material to reasonable consumers, and

thus was obligated to disclose the Defect to Plaintiff and Class Members, at the

point of sale or otherwise.

      171.    HP also had a duty to disclose because it made many general

affirmative representations about the quality, warranty, maneuverability, and

durability of the Class Laptops as set forth above, which were misleading,

deceptive, and/or incomplete without the disclosure of the additional facts set forth

above regarding their actual quality, functionality, and durability. Even when faced

with complaints regarding the Defect, HP often refused to acknowledge the issue.

As a result, Class Members were misled as to the true condition of the Class

Laptops once at the time of purchase and often again when the Defect was

complained of to HP. The omitted and concealed facts were material because they

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directly impact the value, appeal, and usability of the Class Laptops purchased by

Plaintiffs and Class Members. Whether a manufacturer’s products are as stated by

the manufacturer, backed by the manufacturer, and usable for the purpose for

which they were purchased, are material concerns to a consumer.

      172. Although HP had a duty to disclose the Defect to consumers, it failed

to do so.

      173. Plaintiff and Class Members sustained injury at the time they

purchased Class Laptops that suffer from the Defect, which Defendant failed to

disclose and actively concealed from them. Had Plaintiff and the Class known

about the Defect at the time of purchase, they would have paid substantially less

for their Class Laptops, or would not have purchased them and avoided the

significant out-of-pocket costs they have or will incur to repair or replace Class

Laptops once the Defect manifests.

      174. HP’s acts were done maliciously, oppressively, deliberately, and with

intent to defraud, and in reckless disregard of Plaintiff’s and Class Members’ rights

and well-being, and in part to enrich itself at the expense of consumers. HP’s acts

were done to gain commercial advantage over competitors, and to drive consumers

away from consideration or competitor devices. HP’s conduct warrants an

assessment of punitive damages in an amount sufficient to deter such conduct in

the future.

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                                 JURY DEMAND

     Plaintiff hereby demand a trial by jury on all issues so triable.

                            PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for a judgment against Defendant as follows:

           A.     Entering judgment in favor of Plaintiff against Defendant;

           B.     Certification of the proposed Class pursuant to Federal Rule of

     Civil Procedure 23;

           C.     Appointment of Plaintiff as Class Representative for the Class;

           D.     Appointment of Plaintiff’s counsel as Class Counsel;

           E.     A declaration that HP violated the New York statutes that form

     the basis for Plaintiffs’ primary statutory claims;

           F.     A declaration that HP was unjustly enriched by its conduct as

     described herein;

           G.     Monetary damages;

           H.     Statutory damages in the alternative;

           I.     Restitution;

           J.     Injunctive relief;

           K.     Disgorgement of all monies received by HP as a result of the

     unlawful, unjust, unfair, and deceptive acts and practices described herein;

           L.     Penalties as provided by law;


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            M.     Treble damages;

            N.     A permanent injunction enjoining HP from continuing the

      unlawful, unjust, unfair, and deceptive acts and practices described herein;

            O.     Pre-judgment and post-judgment interest;

            P.     Reasonable attorneys’ fees and expenses; and

            Q.     Such other further relief that the Court deems just and

      equitable.




Dated: February 16, 2022

                                      /s/ P. Bradford deLeeuw
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